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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


IN THE MATTER OF THE              )
RESTRAINT OF:                     )         MISC. ACTION NO.
                                  )          2:21cm3634-MHT
APPROXIMATELY 400                 )               (WO)
ROOSTERS, HENS, YOUNG             )
CHICKENS, AND UNHATCHED           )
CHICKENS LOCATED AT AND           )
AROUND 4295 COUNTY ROAD           )
528, VERBENA, ALABAMA,            )
36091                             )


IN THE MATTER OF THE              )
RESTRAINT OF:                     )         MISC. ACTION NO.
                                  )          2:21cm3635-MHT
APPROXIMATELY 1,000               )               (WO)
ROOSTERS, HENS, YOUNG             )
CHICKENS, AND UNHATCHED           )
CHICKENS LOCATED AT AND           )
AROUND 4227 COUNTY ROAD           )
528, VERBENA, ALABAMA,            )
36091                             )


IN THE MATTER OF THE              )
RESTRAINT OF:                     )         MISC. ACTION NO.
                                  )          2:21cm3636-MHT
APPROXIMATELY 1,000               )               (WO)
ROOSTERS, HENS, YOUNG             )
CHICKENS, AND UNHATCHED           )
CHICKENS LOCATED AT AND           )
AROUND 4046 COUNTY ROAD           )
528, VERBENA, ALABAMA,            )
36091                             )
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                   OPINION AND ORDER GRANTING
               MOTION TO EXTEND RESTRAINING ORDER

    These       cases    are      before     the    court     on       the

government’s motion to extend the court’s restraining

order.    On June 11, 2021, the court entered a 14-day ex

parte temporary restraining order.             After notice to the

parties and an evidentiary hearing held on June 25,

2021,    the   court    entered    a   restraining    order    through

August 13, 2021, pursuant to 21 U.S.C. § 853(e)(1)(B)

and 18 U.S.C. § 983(j)(1)(B).              The government now asks

the court to extend the restraining order for another

31 days, through September 13, 2021.

    Based upon the representations made on the record

on August 9, 2021, and based on the evidence heard on

June 25, 2021, the court finds that the government has

met the requirements for issuance of a further 31-day

restraining order pursuant to 21 U.S.C. § 853(e)(1)(B)

and 18 U.S.C. § 983(j)(1)(B).              Specifically, the court

finds that the government has acted in good faith and

diligently in assessing the evidence gathered during

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its    investigation       and    that        the    government        needs     an

additional       31-day      stay        to       prevent       loss     of     the

restrained property.

      The requested relief is well within the time limits

set    forth    in   the    relevant         statutes.          A    restraining

order     issued     pursuant       to       21     U.S.C.      § 853(e)(1)(B)

“shall     be   effective     for    not          more   than       ninety    days,

unless extended by the court for good cause shown or

unless an indictment or information … has been filed.”

21 U.S.C. § 853(e)(1).              Likewise, a restraining order

issued pursuant to 18 U.S.C. § 983(j)(1)(B) “shall be

effective for not more than 90 days, unless extended by

the     court      for     good     cause          shown,       or     unless     a

[forfeiture] complaint … has been filed.”                              18 U.S.C.

§ 983(j)(2).         The restraining orders entered pursuant

to these provisions have been in effect since June 25,

2021, that is, for 47 days so far.                           Accordingly, a

31-day extension is not excessive.




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       In addition, as before, the court finds that “there

is   a   substantial     probability       that     the       United   States

will     prevail    on   the    issue    of   forfeiture          and   that

failure to enter the order will result in the property

being destroyed, removed from the jurisdiction of the

court, or otherwise made unavailable for forfeiture;”

and that “the need to preserve the availability of the

property     through     the    entry    of   the     requested         order

outweighs the hardship on any party against whom the

order is to be entered.” 21 U.S.C. § 853(e)(1)(B)(i) &

(ii).     The court further finds, pursuant to 18 U.S.C.

§ 983(j)(1)(B),          that     “there       is         a     substantial

probability that the United States will prevail on the

issue of forfeiture and that failure to enter the order

will result in the property being destroyed, removed

from the jurisdiction of the court, or otherwise made

unavailable for forfeiture;” that “the need to preserve

the availability of the property through the entry of

the requested order outweighs the hardship on any party


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against whom the order is to be entered;” and that the

government        has    shown   “a    substantial           probability      of

prevailing on the issue of forfeiture and a similar

probability that failure to enter the order will result

in destruction, removal or other unavailability of the

property, which risk outweighs the hardship imposed on

any party.”        18 U.S.C. § 983(j)(1)(B)(i) & (ii).                      The

court also finds “probable cause to believe that the

property with respect to which the order is sought is

subject      to   civil       forfeiture        and    that     provision    of

notice will jeopardize the availability of the property

for forfeiture,”              18 U.S.C. § 983(j)(3), as well as

“probable     cause       to    believe     that       the      property    with

respect to which the order is sought would, in the

event   of    conviction,        be   subject         to   forfeiture      under

this    section         and    that   provision            of    notice    will

jeopardize        the     availability          of     the      property    for

forfeiture,” 21 U.S.C. § 853(e)(2).

                                          ***


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    Accordingly, it is ORDERED as follows:

    (1) The       government’s         motion     to     extend        the

restraining order (Doc. 19) is granted.

    (2) The restraining order entered on June 25, 2021

pursuant    to   21   U.S.C.   §   853(e)(1)(B)        and   18   U.S.C.

§ 983(j)(1)(B) (Doc. 16) is extended through September

13, 2021.

    DONE, this the 11th day of August, 2021.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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